        Case 1:22-cv-00033-JB-JFR Document 38-7 Filed 08/05/22 Page 1 of 2




Indian Health Service
Medical Staff
Credentialing and
Privileging Guide
United States Public Health Service
Indian Health Service
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       Case 1:22-cv-00033-JB-JFR Document 38-7 Filed 08/05/22 Page 2 of 2                        



I      Introduction
       The purpose of this guidebook is to assist the medical staffs and governing bodies of
       the Indian Health Service (IHS), tribal, and urban (I/T/U) health care facilities in
       carrying out their responsibilities to carefully credential and privilege all medical
       staff members.

    Note: This guidebook is meant to be a resource manual, not a statement of IHS policy.
    See Indian Health Service Circular No. 95-16, Credentials and Privileges Review
    Process for the Medical Staff (Referred to throughout this document as IHS Circular 95-
    16), revised by Indian Health Service Circular No. 96-06 Errata Notice for IHS Circular
    96-16, or most current version for the applicable policy.
       The fundamental concepts of credentialing and privileging have not changed since
       the second edition of the Indian Health Service Credentialing Resource Handbook
       (1997). However, advances in technology and the development of the Internet have
       significantly changed and enhanced the process in which we collect and verify
       credentials information.
       In addition to providing resource information, this document attempts to provide the
       reader with a more detailed description of the credentialing and privileging process.
       It attempts to incorporate both Accreditation Association for Ambulatory Health
       Care (AAAHC) and Joint Commission on Accreditation of Healthcare Organizations
       (JCAHO) concepts. JCAHO and AAAHC standards and guidelines are dynamic
       in nature and change periodically. Therefore, this guide should only be utilized
       as a supplement to and not as a substitute for current IHS, JCAHO, or AAAHC
       guidelines.
       This guide provides:
       •    a description of the credentialing process and the steps that must be taken to
            verify the credentials of any practitioner applying for medical staff membership
            or clinical privileges,
       •    a list of credentialing websites,
       •    sample letters and forms, and
       •    a glossary of commonly utilized credentialing and privileging terms.
       The various forms, letters, etc. are sample formats that have been found to be useful
       in some facilities; they may be copied and used as-is, modified to meet local needs, or
       ignored.
       Credentials are a practitioner’s documentation of education, clinical training,
       licensure, experience, current competence, health status, and ethical behavior.
       Verification of credentials data is required to ensure:
       •    The individual requesting privileges is in fact the same individual who is
            identified in the credentialing documents
       •    The applicant has attained the credentials as stated
       •    The credentials are current
       •    There are no challenges to any of the credentials




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